                                                                      SO ORDERED.

                                                                      Dated: November 9, 2020


 1

 2
                                                                      Eddward P. Ballinger Jr., Bankruptcy Judge
 3
                                                                      _________________________________
 4

 5

 6

 7                           THE UNITED STATES BANKRUPTCY COURT
 8
                                  FOR THE DISTRICT OF ARIZONA
 9

10
     In re                                            CHAPTER 13
11

12   TAVARES JEROME SALTERS,
                                                      CASE NO. 2-20-BK-04878-EPB
13
                                                      STIPULATED ORDER CONFIRMING
14                              Debtor.               CHAPTER 13 PLAN
15
            The Chapter 13 Plan having been properly noticed out to creditors and any objection to
16
     confirmation having been resolved,
17

18           IT IS ORDERED confirming the Plan of the Debtors as follows:

19
           (A) INCOME SUBMITTED TO THE PLAN. Debtors shall submit the following
20   amounts of future income to the Trustee for distribution under the Plan.
21
             (1) Future Earnings or Income. Debtors shall make the following monthly Plan payments:
22

23                  Months                Amount
24                  1‐60                  $422

25
            The payments are due on or before the 9th day of each month commencing June 9, 2020.
26   Debtors are advised that when payments are remitted late, additional interest may accrue on
27                                                 -1-
                                                                                          In re: Salters
28                                                                    Case No. 2-20-BK-04878-EPB




     Case 2:20-bk-04878-EPB        Doc 24 Filed 11/09/20 Entered 11/09/20 09:42:50               Desc
                                   Main Document     Page 1 of 4
 1   secured debts which may result in a funding shortfall at the end of the Plan term. Any funding
 2   shortfall must be cured before the plan is deemed completed.

 3          Within 14 days of filing them, the Debtor will provide a copy of the 2020 - 2023
 4
      federal and state income tax returns to his attorney, who is to provide the returns to the
       Trustee through www.13documents.com.
 5

 6
           (2) Other Property. In the event that other property is submitted, it shall be treated as
 7   supplemental payments
 8
             (B) DURATION. This Plan shall continue for 60 months from the first regular monthly
 9
     payment described in Paragraph (A)(1) above. If at any time before the end of the Plan period all
10   claims are paid, then the Plan shall terminate. In no event will the term of the Plan be reduced to
11   less than 60 months, exclusive of any property recovered by the Trustee, unless all allowed
     claims are paid in full.
12

13            (C) CLA SSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified
14   as listed below. The Plan and this Order shall not constitute an informal proof of claim for any
     creditor. This Order does not allow claims. Claims allowance is determined by § 502 and the
15
     Federal Rules of Bankruptcy Procedure. The Trustee shall receive the percentage fee on the Plan
16   payments pursuant to 28 U.S.C. § 586(e), then the Trustee will pay secured creditors or allowed
17   claims in the following order:

18
            (1) Administrative expenses:
19

20             Attorney Fees. Tom McAvity, shall be allowed total compensation of $4,500. Counsel
               received $0 prior to filing this case and will be paid $4,500 by the Chapter 13 Trustee.
21

22          (2) Claims Secured by Real Property:
23
                (a) None.
24

25          (3) Claims Secured by Personal Property:
26

27                                                    -2-
                                                                                               In re: Salters
28                                                                         Case No. 2-20-BK-04878-EPB




     Case 2:20-bk-04878-EPB          Doc 24 Filed 11/09/20 Entered 11/09/20 09:42:50                   Desc
                                     Main Document     Page 2 of 4
 1             (a) Santander Consumer USA Inc., secured by a lien in 2012 Honda Crosstour, shall
 2                 be paid a secured claim of $9,650.00 with 6% interest. The creditor will receive

 3                 adequate protection payments of $100 per month. The balance of the debt shall be

 4
                   classified as unsecured.

 5
            (4) Unsecured Priority Claims:
 6

 7              (a) None.
 8
            (5) Surrendered Property:
 9

10              Upon confirmation of this plan or except as otherwise ordered by the Court,
11              bankruptcy stays are lifted as to collateral to be surrendered. Such creditor shall
                receive no distribution until the creditor timely files a claim or an amended proof of
12
                claim that reflects any deficiency balance remaining on the claim. Assuming the
13              creditor has an allowed proof of claim, should the creditor fail to file an amended
14              claim consistent with this provision, the Trustee need not make any distributions to
                that creditor. Debtors surrender the following property:
15

16              (a) The Debtor shall surrender the property located at 804 Clyde Street Fort Worth,
17                  TX 76108 to First Guaranty Mortgage Corporation in full satisfaction of the
                    underlying secured lien.
18

19          (6) Other Provisions: None.
20
            (7) Unsecured Nonpriority Claims. Claims allowance is determined by § 502 and the
21
                Federal Rules of Bankruptcy Procedure. Allowed unsecured claims shall be paid pro
22              rata the balance of the payments under the Plan and any unsecured debt balance
23              remaining unpaid upon completion of the Plan may be discharged as provided in 11
                U.S.C. § 1328.
24

25           (D) EFFECTIVE DATE AND VESTING. The effective date of the Plan shall be the
26   date of this Order. Property of the estate vests in Debtors upon confirmation, subject to the rights

27                                                   -3-
                                                                                             In re: Salters
28                                                                        Case No. 2-20-BK-04878-EPB




     Case 2:20-bk-04878-EPB         Doc 24 Filed 11/09/20 Entered 11/09/20 09:42:50                 Desc
                                    Main Document     Page 3 of 4
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Case 2:20-bk-04878-EPB   Doc 24 Filed 11/09/20 Entered 11/09/20 09:42:50   Desc
                         Main Document     Page 4 of 4
